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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

IN RE:                                              )
                                                    )        Case No. 21-14682-EEB
MAINSTREET PIER, LLC                                )
                                                    )        Chapter 11
                                                    )
Debtor.                                             )


                              DECLARATION OF RICK HILL

         I, Rick Hill (“Hill”), a Managing Member of MARS Development, LLC, which entity is
the sole Manager of Mainstreet Pier, LLC (“Debtor” or “Mainstreet”), make this Declaration under
penalty of perjury pursuant to 28 U.S.C. §1746 as follows:
                                          Background
         1.    The Debtor filed its Voluntary Petition pursuant to Chapter 11 of the Bankruptcy
Code on September 10, 2021 (“Petition Date”). The Debtor remains a debtor in possession and is
in operation of its business pursuant to 11 U.S.C. §§ 1107, and 1108.
         2.    The Debtor is a Colorado limited liability company which owns and operates a
boutique hotel, commonly known as The Ascent on Main Hotel (“The Ascent”). The Ascent is
located at 18595 Mainstreet, Parker, Colorado 80134.
         3.    I am a Managing Member of MARS Development, LLC (“MARS”). MARS is the
sole Manager of Debtor.
         4.    Debtor was formed in 2016 with the purpose of developing and operating The
Ascent. In December of 2017, Debtor purchased the real property located at 18595 E. Mainstreet,
Parker, CO for the sum of $1,400,000.00 and began the process of developing the Ascent.
         5.    The buildout of the Ascent was financed by Independent Bank in 2018.
Construction of The Ascent was completed in late 2019, and the hotel opened on December 19,
2019. A small line of credit was received from FirstBank, which was paid off in early 2020.
         6.    The Ascent contains fifty-one (51) guest rooms, four restaurants, an event space,
and a jewelry store. Debtor operates two of the restaurants – the Douglas and the Upper Deck -
and the event space. The primary use of the event space is for weddings. The Debtor has multiple
bookings for weddings in 2022.
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       7.      Debtor leases the other two restaurants and the jewelry store to outside parties.
Doug’s Diner pays $6,248.67 per month in base rent. West Main Taproom pays $12,446.83 per
month in base rent. The jewelry store pays $3,267.16 per month in base rent. All of the tenants
pay their proportionate share of operating expenses for the property.
       8.      On March 20, 2020, less than four months after opening its doors, The Ascent was
closed by the COVID-19 pandemic. The Ascent was able to reopen on June 22, 2020, both for
food services and for rooms, but the pandemic reduced the demand for hospitality significantly
and the business struggled financially.
       9.      In 2021, restrictions loosened. But a new and significant issue arose. In November
of 2020, The Ascent suffered a minor water leak, which caused damages that were fixed. In
February 2021, a pipe burst and caused a major water leak. The water leak in February 2021
caused the entire hotel to close. The reason the pipe burst was because of a design issue which
exposed the pipe to the cold weather. An insurance claim for the incident is outstanding, but it
caused a significant and long-term closure of the hotel.
       10.     As a result of backups in the supply chain caused by COVID, the piping issue was
not formally resolved, and The Ascent not authorized to reopen, until August 9, 2021. During that
time, Debtor had to find replacement venues for a number of weddings, and the Debtor’s
restaurants – which are dependent on the occupancy of the hotel – had to significantly scale back
their operations.
       11.     Independent Bank is the Debtor’s primary secured creditor. In early September
2021, Debtor asked for an extension of its forbearance agreement with Independent Bank. Rather
than discussing a continued forbearance, Independent Bank swept the Debtor’s accounts, pulling
in excess of $600,000.00 from the Debtor’s accounts at Independent Bank.
       12.     Initially, Debtor was managed by MARS. After the pandemic shutdown, Debtor
hired Valor Hospitality Partners (“Valor”) to operate the hotel. Valor manages over two dozen
hotels in the United States, and many more around the world. With its experience in the hospitality
industry, Debtor is set up to succeed moving forward.
       13.     As things stand today, Debtor is in a position to begin operating The Ascent at full
capacity, with its two restaurants open for dine-in service, and all 51 rooms open to be booked. In
addition, a recent appraisal of The Ascent put its value at $23,500,000.00 as an “as-is” going
concern – well in excess of the Debtor’s obligations. The Debtor’s goal in this case is to resume
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operations and obtain financing to pay off Independent Bank in full. If the Debtor is ultimately
unable to obtain financing, Debtor will sell The Ascent and satisfy the claims of creditors that way.
        14.      A combination of the pandemic and the bad luck of the water leak have created a
scenario where Debtor really has never had an opportunity to operate The Ascent. By this
bankruptcy filing, Debtor seeks the opportunity to do so.
                               Payment of Pre-Petition Employee Wages
        15.      The Debtor currently employs 31 people to operate its business. The number of
employees can fluctuate seasonally and based upon the need of the hotel. The Debtor pays its
employees on a bi-weekly basis. A majority of the Debtor’s employees are hourly, and live
paycheck to paycheck.
        16.      The Debtor has calculated the amount of its pre-petition payroll for the period from
September 6, 2021 and September 10, 2021. The total gross wages are approximately $16,678.25,
which amount includes the employer payroll tax liability and estimated health insurance costs.
        17.      In the event the employees are not paid on time, they will suffer personal hardships
since they generally survive on their wages.
        18.      If the employees are not timely paid, the employees will seek employment
elsewhere. The loss of personnel will prevent the Debtor from being able to maintain its ongoing
operations, and the Debtor will be forced to rehire and train new employees, causing the Debtor to
lose significant business while new employees are hired and trained.
        19.      The Debtor cannot afford substantial turnover in its workforce at this critical stage
in its reorganization process.
                                       Assets and Secured Creditors
        20.      The Debtor’s primary asset is the building itself. As noted, a recent appraisal puts
the value of The Ascent as an “as-is” going concern at $23,500,000.00. In addition to the building
itself, Debtor has bank accounts at Independent Bank and Community Bank, and revenue streams
from room occupancy, the Douglas and Upper Deck restaurants, and the event space.
Additionally, Debtor has revenue from the leased restaurants – Doug’s Diner and the West Main
Taproom – as well as the jewelry store.
        21.      The Debtor has available cash in the following amounts:1


1
  Debtor is relying on Available Balance less outstanding checks and plus pending deposits to calculate this number.
It does not include uncashed checks which are at The Ascent and will be deposited in the ordinary course of
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            Bank                        Account No.                   Available Balance
            Independent                 0366                          $8,001.20
            Community                   7473                          $47,970.54
            Total                                                     $55,971.74

        22.      Pre-petition, on or about July 26, 2018, the Debtor entered into a Promissory Note
with Independent Bank in the principal amount $12,380,000.00. The Promissory Note matured
on July 26, 2021.
        23.      Debtor gave Independent Bank a Deed of Trust, Security Agreement and Fixture
Filing to secured the Promissory Note (the “Security Instrument”). The Security Instrument was
recorded with the Clerk and Recorder for Douglas County, Colorado on July 27, 2018 at Reception
Number 2018045507. Independent Bank also perfected the Security Instrument by filing a UCC
Financing Statement with the Colorado Secretary of Statement on July 27, 2018, Document No.
20182067969. Independent Bank holds a first secured position in all assets of the Debtor,
including The Ascent.
        24.      After Debtor defaulted under the terms of the Promissory Note with Independent
Bank, Independent Bank agreed to two forbearance agreements – first on September 30, 2020
which expired on October 26, 2020; which was extended by agreement on November 30, 2020,
which expired on April 26, 2021.
        25.      As part of the forbearance agreements, Debtor created certain reserve accounts with
Independent Bank.         On or about September 3, 2021, Independent Bank swept the sum of
$630,711.21 out of the Debtor’s reserve accounts.
        26.      In addition to Independent Bank, a UCC search of Debtor turns up a UCC Financing
Statement filed by FirstBank on November 20, 2019 at Document No. 20192107283, which asserts
a security interest in all assets of the Debtor. The Debtor acknowledges taking out a line of credit
from FirstBank in November of 2019. The line of credit was paid off, however, and closed in
early 2020. Notwithstanding the existence of the UCC Financing Statement, Debtor states nothing
is owed to FirstBank.
                                      Use of Cash Collateral
        27.      The Debtor’s revenues and available cash are derived from the operation of The
Ascent, the Douglas and Upper Deck restaurants, and the event room, in addition to the rental


business.
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